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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)

                                                   ECF Case


This document relates to: All Consolidated Amended Complaint (ECF No. 3463) Cases


      NOTICE OF PLAINTIFFS’ MOTION PURSUANT TO FED. R. CIV. P. 54(b)
       AND THE COURT’S INHERENT POWERS TO REVISE THIS COURT’S
                   MARCH 28, 2018 ORDER (ECF NO. 3946)

       PLEASE TAKE NOTICE that upon the accompanying memorandum of law and the prior

proceedings and pleadings in this litigation, Plaintiffs who have asserted claims against the

Kingdom of Saudi Arabia (“Kingdom”) through the Plaintiffs’ Executive Committees’

Consolidated Amended Complaint at ECF No. 3463 (“CAC”), respectfully move this Court

pursuant to Fed. R. Civ. P. 54(b) and this Court’s inherent powers, to give effect to the recent

decisions of Kaplan v. Lebanese Canadian Bank, 999 F.3d 842 (2d Cir. 2021) (“Kaplan”), and

Honickman v. BLOM Bank SAL, 6 F.4th 487 (2d Cir. 2021) (“Honickman”), and enter orders

superseding and revising its March 28, 2018 Memorandum Decision and Order at ECF No.

3946, insofar as that Order rejected Plaintiffs’ arguments that this Court possesses jurisdiction

over Plaintiffs’ statutory and common law secondary and primary liability claims against the

Kingdom.
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Dated: December 7, 2021           Respectfully submitted,


                                  COZEN O’CONNOR

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                                  On behalf of the CAC Plaintiffs

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true copy of the Notice of Plaintiffs’ Motion Pursuant to Fed. R.

Civ. P. 54(b) and the Court’s Inherent Powers to Revise This Court’s March 28, 2018 Order

(ECF No. 3946), was electronically filed this 7th day of December 2021. Notice of this filing

will be served upon all parties in 03 MDL 1570 by operation of the Southern District of New

York’s Electronic Case Filing (“ECF”) system.




                                               J. Scott Tarbutton, Esq.




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